Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 1 of 20   PageID 3345




                                  EXHIBIT 1
        Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 2 of 20                                                               PageID 3346
https 1/www usatoday com/In-depth/news/2020/12/23/chee~eadIng-<:heer-sexual-mIsconduct-<:amplaInts-usasf/6484248002/                                            02/03/2022

             USA TODAY
         •   NEWS               Home    Coronavirus   Factcheck    Politics   Race in America   Visual Explainers   Nation   World   Investigations   Hi, Katherine




                                                                                                                                                          1
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 3 of 20   PageID 3347




                                                                              2
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 4 of 20                        PageID 3348




                      Help USA TODAY investigate misconduct in
                      cheerleading
                      If you are an athlete, parent, coach, gym owner or someone else with         3
Case 2:20-cv-02600-SHL-tmp      Document
                      a connection               199-3
                                   to c eer, we want        Filed
                                                     to ear your     02/15/22 Page 5 of 20
                                                                 story.                      PageID 3349

                            ~




                                                                                                   4
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 6 of 20   PageID 3350




                                                                              5
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 7 of 20   PageID 3351




                                                                              6
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 8 of 20   PageID 3352




                                                                              7
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 9 of 20   PageID 3353




                                                                              8
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 10 of 20   PageID
                                    3354




                                                                            9
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 11 of 20   PageID
                                    3355




                                                                           10
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 12 of 20   PageID
                                    3356




                                                                           11
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 13 of 20   PageID
                                    3357




                                                                           12
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 14 of 20   PageID
                                    3358




                                      .J,
                                            .. . . . .                     13
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 15 of 20   PageID
                                    3359




                                                                           14
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 16 of 20   PageID
                                    3360




                                                                           15
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 17 of 20   PageID
                                    3361




                                                                           16
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 18 of 20                                                     PageID
                                    3362




                              I, Jim Lord, do declare as fo llows:

                              1.     1am the Director of Education and Programs of USA Federation for Sport Cheering
                       ("USA Cheer'"), one of the defendants in the above-entitled action. The following statements are

                       within my personal knowledge. If called as a witness, I could and would testify competently

                       thereto. I make this declaration in support of USA Cheer's Motion to Quash the Service of

                       Summons.

                              2.      USA Cheer is a non-profit , Texas organization with its headquarters in Memphis,
                       Tennessee, which serves as the National Governing Body ("NGB") for Sport Cheerleading.

                  10          3.      USA Cheer does not have any cmployecS. USA Cheer contrac1s with _Yarsity Spirit
                  11   LLC, a Tenne5sco entity with its headquarters in Tennessee, to use Varsity Spirit's employees, as
                  12   necessary, to render services for USA Cheer.

                  13          4.      I started providing services to USA Cheer in March 2018 after USA Cheer acquired

                  14   certain assets and liabilities from the American Association of Chee~leading Coaches and

                  15   Administrators ("AACCA"). Prior to working for USA Cheer, 1 worked for AACCA as its




                                                                                                                             17
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 19 of 20   PageID
                                    3363




                                                                           18
Case 2:20-cv-02600-SHL-tmp Document 199-3 Filed 02/15/22 Page 20 of 20   PageID
                                    3364




                                                                           19
